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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                          CASE NO. 1:22-cv-24023-SCOLA/GOODMAN


   KENNETH C. GRIFFIN,

                  Plaintiff,

                          v.

   INTERNAL REVENUE SERVICE and U.S.
   DEPARTMENT OF THE TREASURY,

                  Defendants.


                  JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

         Plaintiff Kenneth C. Griffin and Defendants the Internal Revenue Service and the United

  States Department of the Treasury (collectively, the “Parties”), pursuant to Federal Rule of Civil

  Procedure 41(a)(1)(A)(ii), hereby stipulate and agree to dismiss this case, with prejudice.



  Dated: June 24, 2024                  Respectfully submitted,

                                        For Plaintiff

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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that, on this 24th day of June, 2024, I caused a copy of the foregoing

  document to be filed with the Clerk of Court using the CM/ECF electronic filing system, which

  will send notification to all counsel of record.


                                                 By: /s/ Jason D. Sternberg
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